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4
                                UNITED STATES DISTRICT COURT
5
6                            WESTERN DISTRICT OF WASHINGTON

7                                            AT SEATTLE
8    UNITED STATES OF AMERICA,                }
9                                             } No. CR-12-00062-RSL-3
                          Plaintiff,          }
10                                            } ORDER RE:
11   vs.                                      } MOTION FOR LEAVE TO FILE SUR-REPLY
     VICTOR BERRELLEZA-VERDUZCO,              }
12                                            }
                          Defendant.          }
13
14          Before the Court for resolution is Defendant’s Motion for leave to file Sur-Reply to

15   the Government’s Sur-Response to Motion to Suppress Intercepted Wire
16
     Communications. The court having considered the submissions of the defendant, the
17
     court file herein, hereby orders:
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19          The Defendant’s Motion for leave to file Sur-Reply brief is hereby GRANTED.

20
            DATED this 8th day of April, 2013.
21
22
23
24                                                       A
                                                      Robert S. Lasnik
25                                                    United States District Judge

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27
28
     ORDER RE: MOTION TO FILE SUR-REPLY-1-                                              JULIAN E. TREJO
                                                                                    TREJO LAW OFFICES
                                                                                           P.O. BOX 1338
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